Case MDL No. 3083 Document 263-9 Filed 09/20/23 Page 1 of 60




         EXHIBIT 7
                       Case MDL No. 3083 Document 263-9 Filed 09/20/23 Page 2 of 60
                            query     Reports      Utilities   Help    Log Out

                                                                                                                              JD4,NDISPO

                                        U.S. District Court - District of Colorado
                                              District of Colorado (Denver)
                                 CIVIL DOCKET FOR CASE #: 1:23-cv-02309-CNS-MDB


Tones v. State of Colorado ex rel. et al                                            Date Filed: 09/08/2023
Assigned to: Judge Charlotte N. Sweeney                                             Jury Demand: Plaintiff
Referred to: Magistrate Judge Maritza Dominguez Braswell                            Nature of Suit: 360 P.I.: Other
Cause: 28:1332 Diversity-Personal Injury                                            Jurisdiction: Diversity
Plaintiff
Jorge A. Torres                                                       represented by William Bernard Federman
                                                                                     Federman & Sherwood
                                                                                     10205 North Pennsylvania Avenue
                                                                                     Oklahoma City, OK 73120
                                                                                     405-235-1560
                                                                                     Fax: 405-239-2112
                                                                                     Email: wbf@federmanlaw.com
                                                                                     ATTORNEY TO BE NOTICED


V.
Defendant
State of Colorado ex rel.

Defendant
Colorado Department of Health Care Policy &
Financing

Defendant
International Business Machines Corporation


Date Filed        # Docket Text
09/08/2023        1 COMPLAINT against Colorado Department of Health Care Policy & Financing, International Business Machines
                    Corporation, State of Colorado ex rel. (Filing fee $ 402,Receipt Number ACODC-9285348)Attomey William
                    Bernard Federman added to party Jorge A. Torres(pty:pla), filed by Jorge A. Torres. (Attachments: # 1 Exhibit Notice
                    Letter, # 2 Civil Cover Sheet Civil Cover Sheet)(Federman, William) (Entered: 09/08/2023)
09/08/2023        2 Case assigned to Judge Charlotte N. Sweeney and drawn to Magistrate Judge Maritza Dominguez Braswell. Text
                    Only Entry (efoga,) (Entered: 09/11/2023)
09/11/2023        3 Magistrate Judge consent form issued pursuant to 28 U.S.C. 636(c). No summons issued. (efoga, ) (Entered:
                    09/11/2023)
                                                                                                                                          _
09/11/2023        4 ORDER REFERRING CASE to Magistrate Judge Maritza Dominguez Braswell for non-dispositive matters.
                    Pursuant to 28 U.S.C. § 636(b)(1)(A) and (B) and Fed. R. Civ. P. 72(a) and (b), this case is referred to the assigned
                    United States Magistrate Judge to (1) convene a scheduling conference under Fed. R. Civ. P. 16(b) and enter a
                    scheduling order meeting the requirements of Local Civ. R. 16.2, (2) conduct such status conferences and issue such
                    orders necessary for compliance with the scheduling order, including amendments or modifications of the scheduling
                    order upon a showing of good cause, (3) hear and determine pretrial matters, including discovery and other non-
                    dispositive motions, (4) pursuant to Local Civ. R. 16.6 and at the discretion of the Magistrate Judge, convene such
                    early neutral evaluation and/or settlement conferences and direct related procedures as may facilitate resolution of
                    this case without the necessity of a motion or prior authorization of the undersigned. By Judge Charlotte N. Sweeney
                    on 9/11/23. Text Only Entry (jdyne) (Entered: 09/11/2023)
09/12/2023        5 ORDER SETTING INITIAL CASE DEADLINES. Proposed Scheduling Order due 12/6/2023. By Magistrate Judge
                    Maritza Dominguez Braswell on 9/12/2023. (evaug) (Entered: 09/12/2023)
Case MDL No. 3083 Document 263-9 Filed 09/20/23 Page 3 of 60
Case No. 1:23-cv-02309-CNS-MDB Document 1 filed 09/08/23 USDC Colorado pg 1 of 57
            Case MDL No. 3083 Document 263-9 Filed 09/20/23 Page 4 of 60




    DISTRICT COURT,                DENVER          COUNTY,
    COLORADO
    520 W Colfax, Ave.
    Denver Co, 80204
    Plaintiff:
            Jorge A. Torres
    v.
    Defendants:
           State of Colorado ex rel., Colorado Department of
           Health Care Policy & Financing; and
           International Business Machines Corporation.
                                                                    ▲ COURT USE ONLY ▲
    Attorney:
                                                                 Case Number:
           William B. Federman
           FEDERMAN & SHERWOOD                                   Div.:              Ctrm.:
           10205 N. Pennsylvania Ave
           Oklahoma City, OK 73120
           Phone: (405)235-1560
           wbf@federmanlaw.com
                                   CLASS ACTION COMPLAINT

          Plaintiff Jorge A. Torres, individually and on behalf of all others similarly situated, for his

   Class Action Complaint, brings this action against Defendants State of Colorado ex rel., Colorado

   Department of Health Care Policy & Financing (“CO HCPF”) and International Business

   Machines Corporation (“IBM”) based on personal knowledge and the investigation of counsel and

   alleges as follows:

                                         I.     INTRODUCTION

          1.      On May 28, 2023, an unknown actor gained access to files CO HCPF’s files that

   were saved on IBM’s MOVEit server. As a result, Plaintiff and the Class Members (as further




                                                    1
Case No. 1:23-cv-02309-CNS-MDB Document 1 filed 09/08/23 USDC Colorado pg 2 of 57
            Case MDL No. 3083 Document 263-9 Filed 09/20/23 Page 5 of 60




   defined below) have had their personal identifiable information (“PII”) 1 and protected health

   information (“PHI”) exposed (the “Data Breach”). It is believed that the well-known Russian

   cybergang, CL0P (“Clop”) is the source of the attack. 2

          2.      In carrying out its business, CO HCPF obtains, collects, uses, and derives a benefit

   from the PII and PHI of Plaintiff and the Class. As such, CO HCPF assumed the legal and equitable

   duties to those individuals to protect and safeguard that information from unauthorized access and

   intrusion.

          3.      In carrying out its business, CO HCPF shared Plaintiff and the Class Members’ PII

   and PHI with its vendor IBM.

          4.      On May 31, 2023, Defendants became aware of a security vulnerability impacting

   the MOVEit Secure File Transfer server that it used.

          5.      Defendants launched an investigation into the matter, and, by June 13, 2023, had

   identified the breach files. The investigation confirmed that CO HCPF’s files located on IBM’s

   MOVEit server, containing confidential and personal information, had been accessed without

   authorization on May 28, 2023.

          6.      According to CO HCPF, the PII and PHI exposed in the Breach included names,

   Social Security numbers, Medicaid ID numbers, Medicare ID numbers, dates of birth, home

   addresses, and other contract information, demographic or income information, clinical medical



          1
             Personal identifiable information generally incorporates information that can be used to
   distinguish or trace an individual’s identity, either alone or when combined with other personal or
   identifying information. 2 C.F.R. § 200.79. At a minimum, it includes all information that on its
   face expressly identifies an individual.
           2
             https://securityintelligence.com/news/the-moveit-breach-impact-and-fallout-how-can-
   you-respond/.


                                                   2
Case No. 1:23-cv-02309-CNS-MDB Document 1 filed 09/08/23 USDC Colorado pg 3 of 57
            Case MDL No. 3083 Document 263-9 Filed 09/20/23 Page 6 of 60




   information (such as diagnosis/condition, lab results, medication, or other treatment information),

   and health insurance information (collectively “Personal Information”).

           7.      Around August 11, 2023, CO HCPF began sending out notices to Plaintiff and

   Class Members of the Data Breach.

           8.      Due to Defendants’ negligence, cybercriminals obtained everything they need to

   commit identity theft and wreak havoc on the financial and personal lives of thousands of

   individuals.

           9.      This class action seeks to redress Defendants’ unlawful, willful and wanton failure

   to protect the personal identifiable information of approximately 4,091,794 individuals that was

   exposed in a major data breach of CO HCPF’s files saved on IBM’s MOVEit server in violation

   of their legal obligations. 3

           10.     For the rest of their lives, Plaintiff and the Class Members will have to deal with

   the danger of identity thieves possessing and misusing their Personal Information. Plaintiff and

   Class Members will have to spend time responding to the Breach and are at an immediate,

   imminent, and heightened risk of all manners of identity theft as a direct and proximate result of

   the Data Breach. Plaintiff and Class Members have incurred and/or will continue to incur damages

   in the form of, among other things, identity theft, attempted identity theft, lost time and expenses

   mitigating harms, increased risk of harm, damaged credit, deprivation of the value of their Personal

   Information, loss of privacy, and/or additional damages as described below.




           3
             See https://apps.web.maine.gov/online/aeviewer/ME/40/5b434968-ff60-47f4-ac52-
   fb7946cf3bc6.shtml.



                                                    3
Case No. 1:23-cv-02309-CNS-MDB Document 1 filed 09/08/23 USDC Colorado pg 4 of 57
            Case MDL No. 3083 Document 263-9 Filed 09/20/23 Page 7 of 60




             11.   Defendants betrayed the trust of Plaintiff and the other Class Members by failing

   to properly safeguard and protect their personal identifiable information and thereby enabling

   cybercriminals to steal such valuable and sensitive information.

             12.   Plaintiff brings this action individually and on behalf of the Class, seeking remedies

   including, but not limited to, compensatory damages, reimbursement of out-of-pocket costs,

   injunctive relief, reasonable attorney fees and costs, and all other remedies this Court deems

   proper.

                                           II.     THE PARTIES

             13.   Plaintiff Jorge A. Torres is a citizen of Colorado Springs, Colorado.

             14.   Colorado Department of Health Care Policy & Financing is a Colorado state entity

   with its principal place of business located in Denver, Colorado.

             15.   International Business Machines Corporation is incorporated in New York and has

   its headquarters in Armonk, New York. IBM has locations in and conducts substantial business in

   Denver, Colorado.

             16.   The true names and capacities of persons or entities, whether individual, corporate,

   associate, or otherwise, who may be responsible for some of the claims alleged herein are currently

   unknown to Plaintiff. Plaintiff will seek leave of court to amend this Complaint to reflect the true

   names and capacities of such other responsible parties when their identities become known.

             17.   All of Plaintiff’s claims stated herein are asserted against Defendants and any of

   their owners, predecessors, successors, subsidiaries, agents and/or assigns.

                                  III.    JURISDICTION AND VENUE




                                                     4
Case No. 1:23-cv-02309-CNS-MDB Document 1 filed 09/08/23 USDC Colorado pg 5 of 57
            Case MDL No. 3083 Document 263-9 Filed 09/20/23 Page 8 of 60




          18.     This Court has personal jurisdiction over Defendants because both Defendants

   conduct substantial business in this District, maintain sufficient minimum contacts with this

   District, and collected and/or stored the Personal Information of Plaintiff and Class Members in

   this District. CO HCPF is also a citizen of the State of Colorado.

          19.     Venue is proper in this District because Defendants operate in this District and

   a substantial part of the events or omissions giving rise to Plaintiff and the Class Members’ claims

   occurred in this District, including Defendants collecting and/or storing the PII of Plaintiff and

   Class Members.

                                   IV.     FACTUAL ALLEGATIONS

   Background

          20.     CO HCPF administers Health First Colorado (Colorado’s Medicaid Program),

   Child Health Plan Plus, and other health care programs. In providing these services, CO HCPF

   requires the Personal Information of Plaintiff and the Class Members.

          21.     IBM is an American multinational technology corporation that specializes in

   hardware, middleware, and software, and provides hosting and consulting services in areas ranging

   from mainframe computers to nanotechnology.

          22.     CO HCPF used IBM’s services in the course and scope of its business. In doing so,

   CO HCPF shared Plaintiff and the Class Members’ Personal Information in order to obtain IBM’s

   services.

          23.     Plaintiff and Class Members relied on these sophisticated Defendants to keep their

   Personal Information confidential and securely maintained, to use this information for business




                                                    5
Case No. 1:23-cv-02309-CNS-MDB Document 1 filed 09/08/23 USDC Colorado pg 6 of 57
            Case MDL No. 3083 Document 263-9 Filed 09/20/23 Page 9 of 60




   purposes only, and to make only authorized disclosures of this information. Plaintiff and Class

   Members demand security to safeguard their Personal Information.

          24.     Defendants had a duty to adopt reasonable measures to protect the Personal

   Information of Plaintiff and the Class Members from involuntary disclosure to third parties.

   Defendants’ Data Breach

          25.     IBM used the MOVEit Software system to transfer, store, and collect Plaintiff and

   the Class Members Personal Information.

          26.     The MOVEit software had a critical zero-day flaw. 4 This critical zero-day flaw led

   to a wave of cyber-attacks against organizations who collected the sensitive PII/PHI. 5 Multiple

   organizations have now confirmed data breaches, including Johns Hopkins. 6

          27.     On May 28, 2023, due to IBM’s failure to adequately secure the Personal

   Information saved on the MOVEit server, CO HCPF’s failure to adequately oversee and ensure

   IBM’s security system, and Defendants’ failure to delete Personal Information beyond its use date,

   an unknown hacker gained access to the IBM’s MOVEit server and acquired certain files and

   information including Plaintiff and Class Members’ Personal Information.

          28.     Defendants first received notice of the MOVEit’s critical vulnerability on May 31,

   2023. Despite this, Defendants negligently delayed in responding to the notice and notifying

   Plaintiff and Class Members of the Data Breach.



          4
             “A zero-day vulnerability is a vulnerability in a system or device that has been disclosed
   but is not yet patched. An exploit that attacks a zero-day vulnerability is called a zero-day exploit.”
   See https://www.trendmicro.com/vinfo/us/security/definition/zero-day-vulnerability.
           5
             See https://www.techtarget.com/searchsecurity/news/366539672/MoveIt-Transfer-flaw-
   leads-to-wave-of-data-breach-disclosures
           6
             Id.


                                                     6
Case No. 1:23-cv-02309-CNS-MDB Document 1 filed 09/08/23 USDC Colorado pg 7 of 57
           Case MDL No. 3083 Document 263-9 Filed 09/20/23 Page 10 of 60




          29.     By June 13, 2023, Defendants knew what information had been breached.

          30.     Yet, it wasn’t until August 11, 2023 that CO HCPF started sending Plaintiff and

   Class Members a notice of the Data Breach (“Notice of Data Breach”). Attached hereto as Exhibit

   A.

          31.     CO HCPF;. admitted in the Notice of Data Breach that an unauthorized actor

   accessed sensitive information about Plaintiff and Class Members. Id.

          32.     The details of the root cause of the Data Breach, the vulnerabilities exploited, and

   the remedial measures undertaken to ensure a breach does not occur have not been shared with

   regulators or Plaintiff and Class Members, who retain a vested interest in ensuring that their

   information remains protected.

          33.     The unencrypted Personal Information of Plaintiff and Class Members may end up

   for sale on the dark web, or simply fall into the hands of companies that will use the detailed

   Personal Information for targeted marketing without the approval of Plaintiff and Class Members.

   Unauthorized individuals can easily access the Personal Information of Plaintiff and Class

   Members.

   The Data Breach was Foreseeable

          34.     Defendants were negligent and did not use reasonable security procedures and

   practices appropriate to the nature of the sensitive, unencrypted information it was maintaining for

   Plaintiff and Class Members, causing the exposure of Personal Information for Plaintiff and Class

   Members.




                                                    7
Case No. 1:23-cv-02309-CNS-MDB Document 1 filed 09/08/23 USDC Colorado pg 8 of 57
           Case MDL No. 3083 Document 263-9 Filed 09/20/23 Page 11 of 60




          35.     Because Defendants had a duty to protect Plaintiff’s and Class Members’ Personal

   Information, Defendants should have known through readily available and accessible information

   about potential threats for the unauthorized exfiltration and misuse of such information.

          36.     In the years immediately preceding the Data Breach, Defendants knew or should

   have known that their servers were a target for cybersecurity attacks because warnings were readily

   available and accessible via the internet.

          37.     In October 2019, the Federal Bureau of Investigation published online an article

   titled “High-Impact Ransomware Attacks Threaten U.S. Businesses and Organizations” that,

   among other things, warned that “[a]lthough state and local governments have been particularly

   visible targets for ransomware attacks, ransomware actors have also targeted health care

   organizations, industrial companies, and the transportation sector.” 7

          38.     In April 2020, ZDNet reported, in an article titled “Ransomware mentioned in

   1,000+ SEC filings over the past year,” that “[r]ansomware gangs are now ferociously aggressive

   in their pursuit of big companies. They breach networks, use specialized tools to maximize

   damage, leak corporate information on dark web portals, and even tip journalists to generate

   negative news for companies as revenge against those who refuse to pay.” 8

          39.     In September 2020, the United States Cybersecurity and Infrastructure Security

   Agency published online a “Ransomware Guide” advising that “[m]alicious actors have adjusted



          7
             FBI, High-Impact Ransomware Attacks Threaten U.S. Businesses and Organizations
   (Oct. 2, 2019) (emphasis added), available at https://www.ic3.gov/Media/Y2019/PSA191002 (last
   visited Jan. 25, 2022).
           8
             ZDNet, Ransomware mentioned in 1,000+ SEC filings over the past year (Apr. 30, 2020)
   (emphasis added), available at https://www.zdnet.com/article/ransomware-mentioned-in-1000-
   sec-filings-over-the-past-year/ (last visited Jan. 25, 2022).


                                                    8
Case No. 1:23-cv-02309-CNS-MDB Document 1 filed 09/08/23 USDC Colorado pg 9 of 57
           Case MDL No. 3083 Document 263-9 Filed 09/20/23 Page 12 of 60




   their ransomware tactics over time to include pressuring victims for payment by threatening to

   release stolen data if they refuse to pay and publicly naming and shaming victims as secondary

   forms of extortion.” 9

          40.     This readily available and accessible information confirms that, prior to the Data

   Breach, Defendants knew or should have known that: (i) cybercriminals were targeting big

   companies such as Defendants, (ii) cybercriminals were ferociously aggressive in their pursuit of

   companies in possession of significant sensitive information such as Defendants,

   (iii) cybercriminals     were   leaking   corporate   information   on      dark   web   portals,    and

   (iv) cybercriminals’ tactics included threatening to release stolen data.

          41.     Considering the information readily available and accessible on the internet before

   the Data Breach, Defendants, having elected to store the unencrypted Personal Information of

   Plaintiff and Class Members in an Internet-accessible environment, had reason to be on guard for

   the exfiltration of the Personal Information, and Defendants’ type of business had cause to be

   particularly on guard against such an attack.

          42.     Prior to the Data Breach, Defendants knew or should have known that there was a

   foreseeable risk that Plaintiff’s and Class Members’ Personal Information could be accessed,

   exfiltrated, and published as the result of a cyberattack.

          43.     Prior to the Data Breach, Defendant knew or should have known that it should have

   encrypted the Social Security numbers and other sensitive data elements within the Personal

   Information to protect against their publication and misuse in the event of a cyberattack.


          9
              U.S. CISA, Ransomware Guide – September                             2020,     available    at
   https://www.cisa.gov/sites/default/files/publications/CISA_MS-
   ISAC_Ransomware%20Guide_S508C.pdf (last visited Jan. 25, 2022).


                                                     9
Case No. 1:23-cv-02309-CNS-MDB Document 1 filed 09/08/23 USDC Colorado pg 10 of 57
            Case MDL No. 3083 Document 263-9 Filed 09/20/23 Page 13 of 60




   Defendants Acquires, Collects, and Stores the PII and PHI of Plaintiff and Class Members

          44.      Defendants acquired, collected, and stored the Personal Information of Plaintiff and

   Class Members.

          45.      Plaintiff and other Members of the Class entrusted their Personal Information to

   CO HCPF who entrusted to IBM access and control over the highly sensitive Personal Information.

          46.      By obtaining, collecting, and storing the Personal Information of Plaintiff and Class

   Members, Defendants assumed legal and equitable duties and knew or should have known that it

   was responsible for protecting the Personal Information from disclosure.

          47.      Plaintiff and Class Members have taken reasonable steps to maintain the

   confidentiality of their Personal Information and relied on Defendants to keep their Personal

   Information confidential and securely maintained, to use this information for business purposes

   only, and to make only authorized disclosures of this information.

          48.      As explained by the Federal Bureau of Investigation, “[p]revention is the most

   effective defense against ransomware and it is critical to take precautions for protection.” 10

          49.      To prevent and detect ransomware attacks, including the ransomware attack that

   resulted in the Data Breach, Defendants could and should have implemented, or ensured their

   vendors implemented, as recommended by the United States Government, the following measures:

          •     Implement an awareness and training program. Because end users are targets,
                employees and individuals should be aware of the threat of ransomware and
                how it is delivered.

          •     Enable strong spam filters to prevent phishing emails from reaching the end
                users and authenticate inbound email using technologies like Sender Policy

          10
              See How to Protect Your Networks from RANSOMWARE, at 3, available at
   https://www.fbi.gov/file-repository/ransomware-prevention-and-response-for-cisos.pdf/view (last
   visited July 17, 2023).


                                                    10
Case No. 1:23-cv-02309-CNS-MDB Document 1 filed 09/08/23 USDC Colorado pg 11 of 57
            Case MDL No. 3083 Document 263-9 Filed 09/20/23 Page 14 of 60




             Framework (SPF), Domain Message Authentication Reporting and
             Conformance (DMARC), and DomainKeys Identified Mail (DKIM) to prevent
             email spoofing.

         •   Scan all incoming and outgoing emails to detect threats and filter executable
             files from reaching end users.

         •   Configure firewalls to block access to known malicious IP addresses.

         •   Patch operating systems, software, and firmware on devices. Consider using a
             centralized patch management system.

         •   Set anti-virus and anti-malware programs to conduct regular scans
             automatically.

         •   Manage the use of privileged accounts based on the principle of least privilege:
             no users should be assigned administrative access unless absolutely needed; and
             those with a need for administrator accounts should only use them when
             necessary.

         •   Configure access controls—including file, directory, and network share
             permissions—with least privilege in mind. If a user only needs to read specific
             files, the user should not have write access to those files, directories, or shares.

         •   Disable macro scripts from office files transmitted via email. Consider using
             Office Viewer software to open Microsoft Office files transmitted via email
             instead of full office suite applications.

         •   Implement Software Restriction Policies (SRP) or other controls to prevent
             programs from executing from common ransomware locations, such as
             temporary    folders  supporting     popular    Internet   browsers     or
             compression/decompression programs, including the AppData/LocalAppData
             folder.

         •   Consider disabling Remote Desktop protocol (RDP) if it is not being used.

         •   Use application whitelisting, which only allows systems to execute programs
             known and permitted by security policy.

         •   Execute operating system environments or specific programs in a virtualized
             environment.




                                                   11
Case No. 1:23-cv-02309-CNS-MDB Document 1 filed 09/08/23 USDC Colorado pg 12 of 57
            Case MDL No. 3083 Document 263-9 Filed 09/20/23 Page 15 of 60




          •     Categorize data based on organizational value and implement physical and
                logical separation of networks and data for different organizational units. 11

          50.       To prevent and detect ransomware attacks, including the ransomware attack that

   resulted in the Data Breach, Defendants could and should have implemented, or ensured their

   vendors implemented, as recommended by the United States Cybersecurity & Infrastructure

   Security Agency, the following measures:

          •     Update and patch your computer. Ensure your applications and operating
                systems (OSs) have been updated with the latest patches. Vulnerable
                applications and OSs are the target of most ransomware attacks. . . .

          •     Use caution with links and when entering website addresses. Be careful
                when clicking directly on links in emails, even if the sender appears to be
                someone you know. Attempt to independently verify website addresses (e.g.,
                contact your organization's helpdesk, search the internet for the sender
                organization’s website or the topic mentioned in the email). Pay attention to the
                website addresses you click on, as well as those you enter yourself. Malicious
                website addresses often appear almost identical to legitimate sites, often using
                a slight variation in spelling or a different domain (e.g., .com instead of
                .net). . . .

          •     Open email attachments with caution. Be wary of opening email attachments,
                even from senders you think you know, particularly when attachments are
                compressed files or ZIP files.

          •     Keep your personal information safe. Check a website’s security to ensure
                the information you submit is encrypted before you provide it. . . .

          •     Verify email senders. If you are unsure whether or not an email is legitimate,
                try to verify the email’s legitimacy by contacting the sender directly. Do not
                click on any links in the email. If possible, use a previous (legitimate) email to
                ensure the contact information you have for the sender is authentic before you
                contact them.

          •     Inform yourself. Keep yourself informed about recent cybersecurity threats
                and up to date on ransomware techniques. You can find information about
                known phishing attacks on the Anti-Phishing Working Group website. You
                may also want to sign up for CISA product notifications, which will alert you

          11
               Id. at 3-4.


                                                     12
Case No. 1:23-cv-02309-CNS-MDB Document 1 filed 09/08/23 USDC Colorado pg 13 of 57
            Case MDL No. 3083 Document 263-9 Filed 09/20/23 Page 16 of 60




                when a new Alert, Analysis Report, Bulletin, Current Activity, or Tip has been
                published.

          •     Use and maintain preventative software programs. Install antivirus
                software, firewalls, and email filters—and keep them updated—to reduce
                malicious network traffic. . . . 12

          51.      To prevent and detect ransomware attacks, including the ransomware attack that

   resulted in the Data Breach, Defendants could and should have implemented, or ensured their

   vendors implemented, as recommended by the Microsoft Threat Protection Intelligence Team, the

   following measures:

          Secure internet-facing assets
          - Apply latest security updates
          - Use threat and vulnerability management
          - Perform regular audit; Remove privilege credentials

          Thoroughly investigate and remediate alerts
          - Prioritize and treat commodity malware infections as potential full comprise

          Include IT Pros in security discussions
          - Ensure collaboration among [security operations], [security admins], and
             [information technology] admins to configure servers and other endpoints
             securely

          Build credential hygiene
          - Use [multifactor authentication] or [network level authentication] and use
             strong, randomized, just-in-time local admin passwords
          - Apply principle of least-privilege

          Monitor for adversarial activities
          - Hunt for brute force attempts
          - Monitor for cleanup of Event logs
          - Analyze logon events

          Harden infrastructure
          - Use Windows Defender Firewall
          12
              See Security Tip (ST19-001) Protecting Against Ransomware (original release date Apr.
   11, 2019), available at https://www.cisa.gov/news-events/news/protecting-against-ransomware
   (last visited July 17, 2023).


                                                   13
Case No. 1:23-cv-02309-CNS-MDB Document 1 filed 09/08/23 USDC Colorado pg 14 of 57
            Case MDL No. 3083 Document 263-9 Filed 09/20/23 Page 17 of 60




          -     Enable tamper protection
          -     Enable cloud-delivered protection
          -     Turn on attack surface reduction rules and [Antimalware Scan Interface] for
                Office [Visual Basic for Applications]. 13

          52.       To prevent zero-day attacks, Defendants could and should have implemented, or

   ensured their vendors implemented, as recommended by Security Intelligence, the following:

                •   Patch management: Formal patch management can help security teams
                    remain aware of critical patches.
                •   Vulnerability management: Vulnerability assessments and penetration
                    tests can help companies detect zero-day vulnerabilities before adversaries
                    find them.
                •   Attack surface management (ASM): ASM enables security teams to
                    identify all network assets and scan them for vulnerabilities. ASM tools
                    assess the network from an attacker’s perspective, focusing on how threat
                    actors might try to exploit assets.
                •   Threat intelligence: Security researchers are often the first to identify zero-
                    day vulnerabilities. Organizations that receive threat intelligence updates
                    may be informed about zero-day vulnerabilities sooner.
                •   Anomaly-based detection methods: Machine learning tools can spot
                    suspicious activity in real-time. Common anomaly-based detection
                    solutions include user and entity behavior analytics (UEBA), extended
                    detection and response (XDR) platforms, endpoint detection and response
                    (EDR) tools and some intrusion detection and intrusion prevention
                    systems. 14

          53.       Given that Defendants were storing the Personal Information of other individuals,

   Defendants could and should have implemented all of the above measures, and ensured that their

   vendors did the same, to prevent and detect ransomware attacks.




          13
               See Human-operated ransomware attacks: A preventable disaster (Mar 5, 2020),
   available at https://www.microsoft.com/security/blog/2020/03/05/human-operated-ransomware-
   attacks-a- preventable-disaster/ (last visited July 17, 2023).
           14
              https://securityintelligence.com/news/the-moveit-breach-impact-and-fallout-how-can-
   you-respond/.


                                                      14
Case No. 1:23-cv-02309-CNS-MDB Document 1 filed 09/08/23 USDC Colorado pg 15 of 57
            Case MDL No. 3083 Document 263-9 Filed 09/20/23 Page 18 of 60




          54.       Further, Defendants could have ensured that they, and their vendors, were not

   storing Personal Information beyond its use date or other dates required by law.

          55.       The occurrence of the Data Breach indicates that Defendants failed to adequately

   implement one or more of the above measures to prevent ransomware attacks, resulting in the Data

   Breach and the exposure of the Personal Information of Plaintiff and Class Members.

   Securing Personal Information and Preventing Breaches

          56.       Defendants could have prevented this Data Breach by properly securing and

   encrypting the folders, files, and or data fields containing the Personal Information of Plaintiff and

   Class Members, and ensuring the MOVEit software properly secured and encrypted the folders,

   files, and/or data fields containing the Personal Information of Plaintiff and Class Members.

   Alternatively, Defendants could have destroyed the data it no longer had a reasonable need to

   maintain or only stored data in an Internet-accessible environment when there was a reasonable

   need to do so.

          57.       Defendants’ negligence in safeguarding the Personal Information of Plaintiff and

   Class Members is exacerbated by the repeated warnings and alerts directed to protecting and

   securing sensitive data.

          58.       Despite the prevalence of public announcements of data breach and data security

   compromises, Defendants failed to take appropriate steps to protect the Personal Information of

   Plaintiff and Class Members from being compromised.

          59.       The ramifications of Defendants’ failure to keep secure the Personal Information

   of Plaintiff and Class Members are long lasting and severe. Once Personal Information is stolen,




                                                    15
Case No. 1:23-cv-02309-CNS-MDB Document 1 filed 09/08/23 USDC Colorado pg 16 of 57
            Case MDL No. 3083 Document 263-9 Filed 09/20/23 Page 19 of 60




   particularly Social Security numbers, fraudulent use of that information and damage to victims

   may continue for years.

   Defendant’s Response to the Data Breach is Inadequate

          60.     Defendants were negligent and failed to inform Plaintiff and the Class Members of

   the Data Breach in time for them to protect themselves from identity theft.

          61.     Defendants admitted that it learned of a possible data breach as early as May 31,

   2023. Yet, Defendants did not start notifying affected individuals until almost a year later on or

   around August 2023.

          62.     During these intervals, the cybercriminals have had the opportunity to exploit the

   Plaintiff and the Class Member’s Personal Information while Defendants were secretly

   investigating the Data Breach.

   Value of PII and PHI

          63.      The PII and PHI of individuals remains of high value to criminals, as evidenced by

   the prices they will pay through the dark web. Numerous sources cite dark web pricing for stolen

   identity credentials. For example, personal information can be sold at a price ranging from $40 to

   $200, and bank details have a price range of $50 to $200. 15 Experian reports that a stolen credit or




          15
             Your personal data is for sale on the dark web. Here’s how much it costs, Digital Trends,
   Oct. 16, 2019, available at: https://www.digitaltrends.com/computing/personal-data-sold-on-the-
   dark-web-how-much-it-costs/ (last accessed July 17, 2023).


                                                    16
Case No. 1:23-cv-02309-CNS-MDB Document 1 filed 09/08/23 USDC Colorado pg 17 of 57
            Case MDL No. 3083 Document 263-9 Filed 09/20/23 Page 20 of 60




   debit card number can sell for $5 to $110 on the dark web. 16 Criminals can also purchase access

   to entire company data breaches from $900 to $4,500. 17

          64.     Based on the foregoing, the information compromised in the Data Breach is

   significantly more valuable than the loss of, for example, credit card information in a retailer data

   breach because, there, victims can cancel or close credit and debit card accounts. The information

   compromised in this Data Breach is impossible to “close” and difficult, if not impossible, to

   change.

          65.     This data demands a much higher price on the black market. Martin Walter, senior

   director at cybersecurity firm RedSeal, explained, “Compared to credit card information,

   personally identifiable information and Social Security numbers are worth more than 10x on the

   black market.” 18

          66.     Among other forms of fraud, identity thieves may obtain driver’s licenses,

   government benefits, medical services, and housing or even give false information to police.

          67.     One such example of criminals using PII for profit is the development of “Fullz”

   packages.

          68.     Cyber-criminals can cross-reference two sources of PII to marry unregulated data

   available elsewhere to criminally stolen data with an astonishingly complete scope and degree of


          16
              Here’s How Much Your Personal Information Is Selling for on the Dark Web, Experian,
   Dec. 6, 2017, available at: https://www.experian.com/blogs/ask-experian/heres-how-much-your-
   personal-information-is-selling-for-on-the-dark-web/ (last accessed July17, 2023).
           17
                   In       the      Dark,      VPNOverview,          2019,       available   at:
   https://vpnoverview.com/privacy/anonymous-browsing/in-the-dark/ (last accessed July 17, 2023).
           18
              Time Greene, Anthem Hack: Personal Data Stolen Sells for 10x Price of Stolen Credit
   Card        Numbers,        IT      World,      (Feb.       6,     2015),      available   at:
   https://www.networkworld.com/article/2880366/anthem-hack-personal-data-stolen-sells-for-10x-
   price-of-stolen-credit-card-numbers.html (last accessed July 17, 2023).


                                                    17
Case No. 1:23-cv-02309-CNS-MDB Document 1 filed 09/08/23 USDC Colorado pg 18 of 57
            Case MDL No. 3083 Document 263-9 Filed 09/20/23 Page 21 of 60




   accuracy in order to assemble complete dossiers on individuals. These dossiers are known as

   “Fullz” packages.

           69.     The development of “Fullz” packages means that stolen PII from the Data Breach

   can easily be used to link and identify it to Plaintiff’s and the Class’ phone numbers, email

   addresses, and other unregulated sources and identifiers. In other words, even if certain

   information such as emails, phone numbers, or credit card numbers may not be included in the PII

   stolen by the cyber-criminals in the Data Breach, criminals can easily create a Fullz package and

   sell it at a higher price to unscrupulous operators and criminals (such as illegal and scam

   telemarketers) over and over.

           70.     That is exactly what is happening to Plaintiff and members of the Class, and it is

   reasonable for any trier of fact, including this Court or a jury, to find that Plaintiff’s and the Class’s

   stolen PII and PHI is being misused, and that such misuse is fairly traceable to the Data Breach.

   Plaintiff’s Experience

           71.     Plaintiff entrusted his Personal Information to CO HCPF as required by CO HCPF

   to obtain Medicare, Medicaid, and other health care services in Colorado. CO HCPF then gave

   IBM Plaintiff’s Personal Information in order to use its services.

           72.     Plaintiff received Defendant’s Notice of Data Breach dated August 11, 2023. The

   Notice stated that Plaintiff’s Personal Information, including his names, Social Security numbers,

   Medicaid ID numbers, Medicare ID numbers, dates of birth, home addresses, and other contract

   information, demographic or income information, clinical medical information (such as

   diagnosis/condition, lab results, medication, or other treatment information), and health insurance

   information.



                                                      18
Case No. 1:23-cv-02309-CNS-MDB Document 1 filed 09/08/23 USDC Colorado pg 19 of 57
            Case MDL No. 3083 Document 263-9 Filed 09/20/23 Page 22 of 60




          73.     As a result of the Data Breach, Plaintiff’s sensitive information may have been

   accessed and/or acquired by an unauthorized actor. Defendants have not yet provided definitive

   findings for Plaintiff to know.

          74.     As a result of the Data Breach, Plaintiff has spent time dealing with the

   consequences of the Data Breach, which includes time spent verifying the legitimacy of the Notice

   of Data Breach and self-monitoring his accounts. This time has been lost forever and cannot be

   recaptured.

          75.     As a result of the Data Breach, the confidentiality of Plaintiff’s sensitive

   information has been irreparably harmed. For the rests of his life, Plaintiff will have to worry about

   when and how his sensitive information may be shared or used to his detriment

          76.     Additionally, Plaintiff is very careful about not sharing his sensitive Personal

   Information. He has never knowingly transmitted unencrypted sensitive Personal Information over

   the internet or any other unsecured source.

          77.     Plaintiff stores any documents containing his sensitive Personal Information in safe

   and secure locations or destroys the documents. Moreover, he diligently chooses unique usernames

   and passwords for his various online accounts.

          78.     Plaintiff has suffered lost time, annoyance, interference, and inconvenience as a

   result of the Data Breach and experiences fear and anxiety and increased concern for the loss of

   his privacy.

          79.      Plaintiff has suffered imminent and impending injury arising from the substantially

   increased risk of fraud, identity theft, and misuse resulting from his Personal Information,




                                                    19
Case No. 1:23-cv-02309-CNS-MDB Document 1 filed 09/08/23 USDC Colorado pg 20 of 57
            Case MDL No. 3083 Document 263-9 Filed 09/20/23 Page 23 of 60




   especially his Social Security number and medical information, being placed in the hands of cyber

   criminals.

          80.     Plaintiff has a continuing interest in ensuring that his Personal Information, which,

   upon information and belief, remains backed up in Defendants’ possession, is protected and

   safeguarded from future breaches.

   Plaintiff and the Class Face Significant Risk of Continued Identity Theft

          81.     Plaintiff and members of the proposed Class have suffered injury from the misuse

   of their Personal Information that can be directly traced to Defendants.

          82.     Defendants negligently disclosed the Personal Information of Plaintiff and the

   Class for criminals to use in the conduct of criminal activity. Specifically, Defendants opened up,

   disclosed, and exposed the Personal Information of Plaintiff and the Class to people engaged in

   disruptive and unlawful business practices and tactics, including online account hacking,

   unauthorized use of financial accounts, and fraudulent attempts to open unauthorized financial

   accounts (i.e., identity fraud), all using the stolen Personal Information.

          83.     As a result of Defendant’s negligence and failure to prevent the Data Breach,

   Plaintiff and the Class have suffered and will continue to suffer damages, including monetary

   losses, lost time, anxiety, and emotional distress. They have suffered or are at an increased risk of

   suffering:

                  a.      The loss of the opportunity to control how their Personal Information is

                  used;

                  b.      The diminution in value of their Personal Information;

                  c.      The compromise and continuing publication of their Personal Information;



                                                    20
Case No. 1:23-cv-02309-CNS-MDB Document 1 filed 09/08/23 USDC Colorado pg 21 of 57
            Case MDL No. 3083 Document 263-9 Filed 09/20/23 Page 24 of 60




                   d.      Out-of-pocket costs associated with the prevention, detection, recovery, and

                   remediation from identity theft or fraud;

                   e.      Lost opportunity costs and lost wages associated with the time and effort

                   expended addressing and attempting to mitigate the actual and future consequences

                   of the Data Breach, including, but not limited to, efforts spend researching how to

                   prevent, detect, contest, and recover form identity theft and fraud;

                   f.      Delay in receipt of tax refund monies;

                   g.      Unauthorized use of stolen Personal Information; and

                   h.      The continued risk to their Personal Information, which remains in

                   Defendant’s possession and is subject to further breaches so long as Defendant fails

                   to undertake the appropriate measures to protect the Personal Information in their

                   possession.

            84.    The fraudulent activity resulting from the Data Breach may not come to light for

   years.

            85.    There may be a time lag between when harm occurs versus when it is discovered,

   and also between when Personal Information is stolen and when it is used. According to the U.S.

   Government Accountability Office (“GAO”), which conducted a study regarding data breaches:

            [L]aw enforcement officials told us that in some cases, stolen data may be held
            for up to a year or more before being used to commit identity theft. Further, once
            stolen data have been sold or posted on the Web, fraudulent use of that information
            may continue for years. As a result, studies that attempt to measure the harm
            resulting from data breaches cannot necessarily rule out all future harm.19



            19
             Report to Congressional Requesters, GAO, at 29 (June 2007), available at:
   https://www.gao.gov/assets/gao-07-737.pdf (last accessed July 17, 2023).


                                                    21
Case No. 1:23-cv-02309-CNS-MDB Document 1 filed 09/08/23 USDC Colorado pg 22 of 57
            Case MDL No. 3083 Document 263-9 Filed 09/20/23 Page 25 of 60




          86.     Defendantss negligence and failure to properly notify Plaintiff and members of the

   Class of the Data Breach exacerbated Plaintiff’s and the Class’s injury by depriving them of the

   earliest ability to take appropriate measures to protect their Personal Information and take other

   necessary steps to mitigate the harm caused by the Data Breach

          87.     Plaintiff and Class Members now face years of constant surveillance of their

   financial and personal records, monitoring, and loss of rights. The Classes are incurring and will

   continue to incur such damages in addition to any fraudulent use of their Personal Information.

          88.     Defendants were, or should have been, fully aware of the unique type and the

   significant volume of data contained in Defendants’ database and on IBM’s MOVEit server,

   amounting to potentially thousands of individuals’ detailed, personal information and, thus, the

   significant number of individuals who would be harmed by the exposure of the unencrypted data.

          89.     At all relevant times, Defendants knew, or reasonably should have known, of the

   importance of safeguarding the Personal Information of Plaintiff and Class Members, including

   Social Security numbers and medical information, and of the foreseeable consequences that would

   occur if Defendants’ data security system was breached, including, specifically, the significant

   costs that would be imposed on Plaintiff and Class Members as a result of a breach.

          90.     To date, Defendants have offered Plaintiff and some Class Members only two (2)

   years of credit monitoring and identity restoration services. The offered services are inadequate to

   protect Plaintiff and Class Members from the threats they face for years to come, particularly in

   light of the Personal Information at issue here.




                                                      22
Case No. 1:23-cv-02309-CNS-MDB Document 1 filed 09/08/23 USDC Colorado pg 23 of 57
            Case MDL No. 3083 Document 263-9 Filed 09/20/23 Page 26 of 60




          91.      The injuries to Plaintiff and Class Members are directly and proximately caused by

   Defendants’ negligence and failure to implement or maintain adequate data security measures for

   the Personal Information of Plaintiff and Class Members.

   Defendants Failed to Adhere to FTC Guidelines

          92.      According to the Federal Trade Commission (“FTC”), the need for data security

   should be factored into all business decision-making. To that end, the FTC has issued numerous

   guidelines identifying best data security practices that businesses, such as Defendants, should

   employ to protect against the unlawful exposure of PII.

          93.      The FTC defines identity theft as “a fraud committed or attempted using the

   identifying information of another person without authority.” 20 The FTC describes “identifying

   information” as “any name or number that may be used, alone or in conjunction with any other

   information, to identify a specific person,” including, among other things, “[n]ame, Social Security

   number, date of birth, official State or government issued driver’s license or identification number,

   alien registration number, government passport number, employer or taxpayer identification

   number.” 21

          94.      In 2016, the FTC updated its publication, Protecting Personal Information: A Guide

   for Business, which established guidelines for fundamental data security principles and practices

   for business. The guidelines explain that businesses should:

                   a.      Protect the sensitive consumer information that they keep;

                   b.      Properly dispose of PII that is no longer needed;



          20
               17 C.F.R. § 248.201 (2013).
          21
               Id.


                                                    23
Case No. 1:23-cv-02309-CNS-MDB Document 1 filed 09/08/23 USDC Colorado pg 24 of 57
            Case MDL No. 3083 Document 263-9 Filed 09/20/23 Page 27 of 60




                  c.      Encrypt information stored on computer networks;

                  d.      Understand their network’s vulnerabilities; and

                  e.      Implement policies to correct security problems.

          95.     The guidelines also recommend that businesses watch for large amounts of data

   being transmitted from the system and have a response plan ready in the event of a breach.

          96.     The FTC recommends that companies not maintain information longer than is

   needed for authorization of a transaction; limit access to sensitive data; require complex passwords

   to be used on networks; use industry-tested methods for security; monitor for suspicious activity

   on the network; and verify that third-party service providers have implemented reasonable security

   measures.

          97.     The FTC has brought enforcement actions against businesses for failing to

   adequately and reasonably protect consumer data, treating the failure to employ reasonable and

   appropriate measures to protect against unauthorized access to confidential consumer data as an

   unfair act or practice prohibited by Section 5 of the Federal Trade Commission Act (“FTC Act”),

   15 U.S.C. § 45. Orders resulting from these actions further clarify the measures businesses must

   take to meet their data security obligations.

          98.     Defendants’ negligence and failure to employ reasonable and appropriate measures

   to protect against unauthorized access to Plaintiff and the Class’s PII constitutes an unfair act or

   practice prohibited by Section 5 of the FTC Act, 15 U.S.C. § 45.

   Defendants Failed to Adhere to HIPAA Guidelines

          99.     Upon information and belief, Defendants are covered by HIPAA (45 C.F.R. §

   160.102). As such, it is required to comply with the HIPAA Privacy Rule and Security Rule, 45



                                                   24
Case No. 1:23-cv-02309-CNS-MDB Document 1 filed 09/08/23 USDC Colorado pg 25 of 57
            Case MDL No. 3083 Document 263-9 Filed 09/20/23 Page 28 of 60




   C.F.R. Part 160 and Part 164, Subparts A and E (“Standards for Privacy of Individually Identifiable

   Health Information”), and Security Rule (“Security Standards for the Protection of Electronic

   Protected Health Information”), 45 C.F.R. Part 160 and Part 164, Subparts A and C.

          100.    Defendants are subject to the rules and regulations for safeguarding electronic

   forms of medical information pursuant to the Health Information Technology Act (“HITECH”).

   See 42 U.S.C. § 17921; 45 C.F.R. § 106.103. HIPAA and HITECH work in tandem to provide

   guidelines and rules for maintaining protected health information. HITECH references and

   incorporates HIPAA.

          101.    HIPAA’s Privacy Rule or Standards for Privacy of Individually Identifiable Health

   Information establishes national standards for the protection of health information.

          102.    HIPAA’s Privacy Rule or Security Standards for the Protection of Electronic

   Protected Health Information establishes a national set of security standards for protecting health

   information, including health information that is kept or transferred in electronic form.

          103.    HIPAA requires Defendant to “comply with the applicable standards,

   implementation specifications, and requirements” of HIPAA “with respect to electronic protected

   health information.” 45 C.F.R. § 164.302.

          104.    “Electronic protected health information” is “individually identifiable health

   information … that is (i) transmitted by electronic media; maintained in electronic media.” 45

   C.F.R. § 160.103.

          105.    HIPAA’s Security Rule requires Defendants to do the following:




                                                   25
Case No. 1:23-cv-02309-CNS-MDB Document 1 filed 09/08/23 USDC Colorado pg 26 of 57
            Case MDL No. 3083 Document 263-9 Filed 09/20/23 Page 29 of 60




                    a. Ensure the confidentiality, integrity, and availability of all electronic

                        protected health information the covered entity or business associate creates,

                        receives, maintains, or transmits;

                    b. Protect against any reasonably anticipated threats or hazards to the security or

                        integrity of such information;

                    c. Protect against any reasonably anticipated uses or disclosures of such

                        information that are not permitted; and

                    d. Ensure compliance by their workforce.

          106.    HIPAA also requires Defendant to “review and modify the security measures

   implemented … as needed to continue provision of reasonable and appropriate protection of

   electronic protected health information.” 45 C.F.R. § 164.306(e).

          107.    Additionally, HIPAA requires Defendants to “[i]mplement technical policies and

   procedures for electronic information systems that maintain electronic protected health

   information to allow access only to those persons or software programs that have been granted

   access rights.” 45 C.F.R. § 164.312(a)(1).

          108.     HIPAA and HITECH also obligate Defendants to implement policies and

   procedures to prevent, detect, contain, and correct security violations, and to protect against uses

   or disclosures of electronic PHI that are reasonably anticipated but not permitted by the privacy

   rules. See 45 C.F.R. § 164.306(a)(1) and § 164.306(a)(3); see also 42 U.S.C. §17902.

          109.     HIPAA requires a covered entity to have and apply appropriate sanctions against

   members of its workforce who fail to comply with the privacy policies and procedures of the

   covered entity or the requirements of 45 C.F.R. Part 164, Subparts D or E. See 45 C.F.R. §



                                                    26
Case No. 1:23-cv-02309-CNS-MDB Document 1 filed 09/08/23 USDC Colorado pg 27 of 57
            Case MDL No. 3083 Document 263-9 Filed 09/20/23 Page 30 of 60




   164.530(e).

          110.     HIPAA requires a covered entity to mitigate, to the extent practicable, any

   harmful effect that is known to the covered entity of a use or disclosure of PHI in violation of its

   policies and procedures or the requirements of 45 C.F.R. Part 164, Subpart E by the covered

   entity or its business associate. See 45 C.F.R. § 164.530(f).

          111.     HIPAA also requires the Office of Civil Rights (“OCR”), within HHS, to issue

   annual guidance documents on the provisions in the HIPAA Security Rule. See 45 C.F.R. §§

   164.302-164.318. For example, “HHS has developed guidance and tools to assist HIPAA covered

   entities in identifying and implementing the most cost effective and appropriate administrative,

   physical, and technical safeguards to protect the confidentiality, integrity, and availability of e-

   PHI and comply with the risk analysis requirements of the Security Rule.” US Department of

   Health & Human Services, Security Rule Guidance Material. 22 The list of resources includes a link

   to guidelines set by the National Institute of Standards and Technology (NIST), which OCR says

   “represent the industry standard for good business practices with respect to standards for securing

   e-PHI.” US Department of Health & Human Services, Guidance on Risk Analysis. 23

          112.    The HIPAA Breach Notification Rule, 45 C.F.R. §§ 164.400-414, further requires

   Defendant to provide notice of the Data Breach to each affected individual “without unreasonable

   delay and in no case later than 60 days following discovery of the breach.”




          22
             http://www.hhs.gov/hipaa/for-professionals/security/guidance/index.html.
          23
                         https://www.hhs.gov/hipaa/for-professionals/security/guidance/guidance-risk-
   analysis/index. html (last accessed July 11, 2023).


                                                    27
Case No. 1:23-cv-02309-CNS-MDB Document 1 filed 09/08/23 USDC Colorado pg 28 of 57
            Case MDL No. 3083 Document 263-9 Filed 09/20/23 Page 31 of 60




          113.    Defendant’s negligence and failure to employ reasonable and appropriate measures

   to protect against unauthorized access to Plaintiff and the Class’s PHI constitutes an unfair act or

   practice prohibited by HIPAA.

                               V.      CLASS ACTION ALLEGATIONS

          114.    Plaintiff brings this nationwide class action on behalf of herself and on behalf of all

   others similarly situated pursuant to CRCP 23.

          115.    The Class that Plaintiff seeks to represent is defined as follows:

                   All individuals whose Personal Information may have been
                   accessed and/or acquired in the Data Breach that is the subject of
                   the Notice of Data Breach that Defendants sent to Plaintiff and
                   Class Members on or around August 2023 (the “Class”).

          116.    Excluded from the Classes are the following individuals and/or entities: Defendants

   and Defendants’ parents, subsidiaries, affiliates, officers and directors, and any entity in which

   Defendants have a controlling interest; all individuals who make a timely election to be excluded

   from this proceeding using the correct protocol for opting out; any and all federal, state or local

   governments, including but not limited to their departments, agencies, divisions, bureaus, boards,

   sections, groups, counsels and/or subdivisions; and all judges assigned to hear any aspect of this

   litigation, as well as their immediate family members.

          117.    Plaintiff reserves the right to modify or amend the definition of the proposed classes

   before the Court determines whether certification is appropriate.

          118.    Numerosity: The Class is so numerous that joinder of all members is impracticable.

   Defendants reported to the Maine Attorney General that 4,091,794 individuals were impacted by

   the Data Breach.




                                                    28
Case No. 1:23-cv-02309-CNS-MDB Document 1 filed 09/08/23 USDC Colorado pg 29 of 57
            Case MDL No. 3083 Document 263-9 Filed 09/20/23 Page 32 of 60




          119.   Commonality: Questions of law and fact common to the Classes exist and

   predominate over any questions affecting only individual Class Members. These include:

                 a.     Whether and to what extent Defendants had a duty to protect the Personal

                 Information of Plaintiff and Class Members;

                 b.     Whether and to what extent Defendants had a duty to ensure that the

                 MOVEit software was capable of adequately protecting Plaintiff and the Class

                 Members Personal Information;

                 c.     Whether Defendants had duties not to disclose the Personal Information of

                 Plaintiff and Class Members to unauthorized third parties;

                 d.     Whether Defendants had duties not to use the Personal Information of

                 Plaintiff and Class Members for non-business purposes;

                 e.     Whether Defendants failed to adequately safeguard the Personal Information

                 of Plaintiff and Class Members;

                 f.     Whether Defendants failed to ensure their vendors provided adequate cyber

                 security;

                 g.     Whether Defendants were negligently in utilizing the MOVEit system and

                 permitting the unencrypted Personal Information of vast numbers of individuals to

                 be stored on the MOVEit network.

                 h.     Whether Defendants were negligent in failing to ensure their vendors

                 adhered to reasonable retention policies, thereby greatly increasing the size of the

                 Data Breach;

                 i.     Whether Defendants were negligent in failing to ensure they adhered to



                                                   29
Case No. 1:23-cv-02309-CNS-MDB Document 1 filed 09/08/23 USDC Colorado pg 30 of 57
            Case MDL No. 3083 Document 263-9 Filed 09/20/23 Page 33 of 60




               reasonable retention policies, thereby greatly increasing the size of the Data Breach;

               j.     Whether Defendants breached implied contractual duties to Plaintiff and

               Class Members to use reasonable care in protecting their Personal Information;

               k.     When Defendants actually learned of the Data Breach;

               l.     Whether Defendants adequately, promptly, and accurately informed Plaintiff

               and Class Members that their Personal Information had been compromised;

               m.     Whether Defendants violated the law by failing to promptly notify Plaintiff

               and Class Members that their Personal Information had been compromised;

               n.     Whether Defendants failed to implement and maintain reasonable security

               procedures and practices appropriate to the nature and scope of the information

               compromised in the Data Breach;

               o.     Whether Defendants adequately addressed and fixed the vulnerabilities

               which permitted the Data Breach to occur;

               p.     Whether Defendants engaged in unfair, unlawful, or deceptive practice by

               failing to safeguard the Personal Information of Plaintiff and Class Members;

               q.     Whether Plaintiff and Class Members are entitled to actual, consequential,

               and/or nominal damages as a result of Defendants’ wrongful conduct;

               r.     Whether Plaintiff and Class Members are entitled to restitution as a result of

               Defendants’ wrongful conduct; and

               s.     Whether Plaintiff and Class Members are entitled to injunctive relief to

               redress the imminent and currently ongoing harm faced as a result of the Data

               Breach.



                                                30
Case No. 1:23-cv-02309-CNS-MDB Document 1 filed 09/08/23 USDC Colorado pg 31 of 57
            Case MDL No. 3083 Document 263-9 Filed 09/20/23 Page 34 of 60




          120.    Typicality: Plaintiff’s claims are typical of those of other Class Members because

   all had their Personal Information compromised as a result of the Data Breach, due to Defendants’

   misfeasance.

          121.    Policies Generally Applicable to the Class: This class action is also appropriate

   for certification because Defendants have acted or refused to act on grounds generally applicable

   to the Class, thereby requiring the Court’s imposition of uniform relief to ensure compatible

   standards of conduct toward Class Members and making final injunctive relief appropriate with

   respect to the Class as a whole. Defendants’ policies challenged herein apply to and affect Class

   Members uniformly and Plaintiff’s challenge of these policies hinges on Defendants’ conduct with

   respect to the Class as a whole, not on facts or law applicable only to Plaintiff.

          122.    Adequacy: Plaintiff will fairly and adequately represent and protect the interests

   of Class Members in that they have no disabling conflicts of interest that would be antagonistic to

   those of the other Members of the Class. Plaintiff seeks no relief that is antagonistic or adverse to

   the Members of the Class and the infringement of the rights and the damages they have suffered

   are typical of other Class Members. Plaintiff has retained counsel experienced in complex class

   action litigation, and Plaintiff intends to prosecute this action vigorously.

          123.    Superiority and Manageability: The class litigation is an appropriate method for

   fair and efficient adjudication of the claims involved. Class action treatment is superior to all other

   available methods for the fair and efficient adjudication of the controversy alleged herein; it will

   permit a large number of Class Members to prosecute their common claims in a single forum

   simultaneously, efficiently, and without the unnecessary duplication of evidence, effort, and

   expense that hundreds of individual actions would require. Class action treatment will permit the



                                                     31
Case No. 1:23-cv-02309-CNS-MDB Document 1 filed 09/08/23 USDC Colorado pg 32 of 57
            Case MDL No. 3083 Document 263-9 Filed 09/20/23 Page 35 of 60




   adjudication of relatively modest claims by certain Class Members, who could not individually

   afford to litigate a complex claim against large corporations, like Defendants. Further, even for

   those Class Members who could afford to litigate such a claim, it would still be economically

   impractical and impose a burden on the courts.

           124.    The nature of this action and the nature of laws available to Plaintiff and Class

   Members make the use of the class action device a particularly efficient and appropriate procedure

   to afford relief to Plaintiff and Class Members for the wrongs alleged because Defendants would

   necessarily gain an unconscionable advantage since it would be able to exploit and overwhelm the

   limited resources of each individual Class Member with superior financial and legal resources; the

   costs of individual suits could unreasonably consume the amounts that would be recovered; proof

   of a common course of conduct to which Plaintiff was exposed is representative of that experienced

   by the Class and will establish the right of each Class Member to recover on the cause of action

   alleged; and individual actions would create a risk of inconsistent results and would be unnecessary

   and duplicative of this litigation.

           125.    The litigation of the claims brought herein is manageable. Defendants’ uniform

   conduct, the consistent provisions of the relevant laws, and the ascertainable identities of Class

   Members demonstrates that there would be no significant manageability problems with

   prosecuting this lawsuit as a class action.

           126.    Adequate notice can be given to Class Members directly using information

   maintained in Defendants’ records.

           127.    Unless a Class-wide injunction is issued, Defendants may continue in its failure to

   properly secure the Personal Information of Class Members, Defendants may continue to refuse



                                                    32
Case No. 1:23-cv-02309-CNS-MDB Document 1 filed 09/08/23 USDC Colorado pg 33 of 57
            Case MDL No. 3083 Document 263-9 Filed 09/20/23 Page 36 of 60




   to provide proper notification to Class Members regarding the Data Breach, and Defendant may

   continue to act unlawfully as set forth in this Complaint.

          128.       Further, Defendants have acted or refused to act on grounds generally applicable to

   the Classes and, accordingly, final injunctive or corresponding declaratory relief with regard to

   Class Members as a whole is appropriate.

          129.       Likewise, particular issues under CRCP 23 are appropriate for certification because

   such claims present only particular, common issues, the resolution of which would advance the

   disposition of this matter and the parties’ interests therein. Such particular issues include, but are

   not limited to:

                     a.     Whether Defendants owed a legal duty to Plaintiff and Class Members to

                     exercise due care in collecting, storing, using, and safeguarding their Personal

                     Information;

                     b.     Whether Defendants owed a legal duty to Plaintiff and Class Members to

                     exercise due care in selecting and hiring vendors to collect, store, use, and safeguard

                     Plaintiff and the Class Members’ Personal Information;

                     c.     Whether Defendants breached a legal duty to Plaintiff and Class Members

                     to exercise due care in collecting, storing, using, and safeguarding their Personal

                     Information;

                     d.     Whether Defendants breached a legal duty to Plaintiff and Class Members

                     to exercise due care in selecting and hiring vendors to collect, store, use, and

                     safeguard Plaintiff and the Class Members’ Personal Information;

                     e.     Whether Defendants failed to comply with its own policies and applicable



                                                       33
Case No. 1:23-cv-02309-CNS-MDB Document 1 filed 09/08/23 USDC Colorado pg 34 of 57
            Case MDL No. 3083 Document 263-9 Filed 09/20/23 Page 37 of 60




                  laws, regulations, and industry standards relating to data security;

                  f.      Whether Defendants adequately and accurately informed Plaintiff and Class

                  Members that their Personal Information had been compromised;

                  g.      Whether Defendants failed to implement and maintain reasonable security

                  procedures and practices appropriate to the nature and scope of the information

                  compromised in the Data Breach;

                  h.      Whether Defendants failed to ensure that their vendors implement and

                  maintain reasonable security procedures and practices appropriate to the nature and

                  scope of the information compromised in the Data Breach;

                  i.      Whether Defendants engaged in unfair, unlawful, or deceptive practices by

                  failing to safeguard the Personal Information of Plaintiff and Class Members;

                  j.      Whether Defendants engaged in unfair, unlawful, or deceptive practices by

                  failing to ensure that their vendors safeguarded the Personal Information of Plaintiff

                  and Class Members and,

                  k.      Whether Class Members are entitled to actual, consequential, and/or nominal

                  damages, and/or injunctive relief as a result of Defendants’ wrongful conduct.

                                       VI.     CAUSES OF ACTION

                                    COUNT I – NEGLIGENCE
                    (On Behalf of Plaintiff and the Class against Defendant IBM)

          130.    Plaintiff incorporates by reference all allegations of the preceding paragraphs as

   though fully set forth herein.

          131.    Defendant solicited, gathered, and stored the Personal Information of Plaintiff and

   the Class as part of the operation of its business.


                                                     34
Case No. 1:23-cv-02309-CNS-MDB Document 1 filed 09/08/23 USDC Colorado pg 35 of 57
            Case MDL No. 3083 Document 263-9 Filed 09/20/23 Page 38 of 60




          132.    Upon accepting and storing the Personal Information of Plaintiff and Class

   Members, Defendant undertook and owed a duty to Plaintiff and Class Members to exercise

   reasonable care to secure and safeguard that information and to use secure methods to do so.

          133.    Defendant had full knowledge of the sensitivity of the Personal Information, the

   types of harm that Plaintiff and Class members could and would suffer if the Personal Information

   was wrongfully disclosed, and the importance of adequate security.

          134.    Plaintiff and Class members were the foreseeable victims of any inadequate safety

   and security practices. Plaintiff and the Class members had no ability to protect their Personal

   Information that was in Defendant’s possession. As such, a special relationship existed between

   Defendant and Plaintiff and the Class.

          135.    Defendant was well aware of the fact that cyber criminals routinely target large

   corporations through cyberattacks in an attempt to steal sensitive Personal Information.

          136.    Defendant owed Plaintiff and the Class members a common law duty to use

   reasonable care to avoid causing foreseeable risk of harm to Plaintiff and the Class when obtaining,

   storing, using, and managing personal information, including taking action to reasonably safeguard

   such data.

          137.    Defendant’s duty extended to protecting Plaintiff and the Class from the risk of

   foreseeable criminal conduct of third parties, which has been recognized in situations where the

   actor’s own conduct or misconduct exposes another to the risk or defeats protections put in place

   to guard against the risk, or where the parties are in a special relationship. See Restatement

   (Second) of Torts § 302B. Numerous courts and legislatures also have recognized the existence of

   a specific duty to reasonably safeguard personal information.



                                                   35
Case No. 1:23-cv-02309-CNS-MDB Document 1 filed 09/08/23 USDC Colorado pg 36 of 57
            Case MDL No. 3083 Document 263-9 Filed 09/20/23 Page 39 of 60




          138.    Defendant had duties to protect and safeguard the Personal Information of Plaintiff

   and the Class from being vulnerable to cyberattacks by taking common-sense precautions when

   dealing with sensitive Personal Information. Additional duties that Defendant owed Plaintiff and

   the Class include:

                  a.      To exercise reasonable care in designing, implementing, maintaining,

                          monitoring, and testing Defendant’s networks, systems, protocols, policies,

                          procedures and practices to ensure that Plaintiff’s and Class Members’

                          Personal Information was adequately secured from impermissible access,

                          viewing, release, disclosure, and publication;

                  b.      To protect Plaintiff’s and Class Members’ Personal Information in its

                          possession by using reasonable and adequate security procedures and

                          systems;

                  c.      To implement processes to quickly detect a data breach, security incident,

                          or intrusion involving their networks and servers; and

                  d.      To promptly notify Plaintiff and Class Members of any data breach, security

                          incident, or intrusion that affected or may have affected their Personal

                          Information.

          139.     Defendant was the only one who could ensure that its systems and protocols were

   sufficient to protect the Personal Information that Plaintiff and the Class had entrusted to it.

          140.    Defendant breached its duty of care by failing to adequately protect Plaintiff’s and

   Class Members’ Personal Information. Defendant breached its duty by, among other things:




                                                    36
Case No. 1:23-cv-02309-CNS-MDB Document 1 filed 09/08/23 USDC Colorado pg 37 of 57
            Case MDL No. 3083 Document 263-9 Filed 09/20/23 Page 40 of 60




                  a.      Failing to exercise reasonable care in obtaining, retaining securing,

                          safeguarding, deleting, and protecting the Personal Information in its

                          possession;

                  b.      Failing to protect the Personal Information in its possession using

                          reasonable and adequate security procedures and systems;

                  c.      Failing to adequately train its employees to not store Personal Information

                          longer than absolutely necessary;

                  d.      Failing to consistently enforce security policies aimed at protecting

                          Plaintiff’s and the Class’s Personal Information; and

                  e.      Failing to implement processes to quickly detect data breaches, security

                          incidents, or intrusions.

          141.    Defendant’s willful failure to abide by these duties was wrongful, reckless, and

   grossly negligent in light of the foreseeable risks and known threats.

          142.    As a proximate and foreseeable result of Defendant’s negligent and/or grossly

   negligent conduct, Plaintiff and the Class have suffered damages and are at imminent risk of

   additional harms and damages.

          143.    Through Defendant’s acts and omissions described herein, including but not limited

   to Defendant’s failure to protect the Personal Information of Plaintiff and Class Members from

   being stolen and misused, Defendant unlawfully breached its duty to use reasonable care to

   adequately protect and secure the Personal Information of Plaintiff and Class Members while it

   was within Defendant’s possession and control.




                                                      37
Case No. 1:23-cv-02309-CNS-MDB Document 1 filed 09/08/23 USDC Colorado pg 38 of 57
            Case MDL No. 3083 Document 263-9 Filed 09/20/23 Page 41 of 60




           144.    As a result of the Data Breach, Plaintiff and Class Members have spent time, effort,

   and money to mitigate the actual and potential impact of the Data Breach on their lives, including

   but not limited to, closely reviewing and monitoring bank accounts, credit reports, and statements

   sent from providers and their insurance companies and the payment for credit monitoring and

   identity theft prevention services.

           145.    Defendant’s wrongful actions, inactions, and omissions constituted (and continue

   to constitute) common law negligence.

           146.    The damages Plaintiff and the Class have suffered and will suffer were and are the

   direct and proximate result of Defendant’s negligent and/or grossly negligent conduct.

           147.    Plaintiff has served CO HCPF with notice pursuant to Colo. Rev. Stat. § 24-10-109

   and reserves the right to amend this complaint and assert claims against CO HCPF.

                               COUNT II – NEGLIGENCE PER SE
                    (On Behalf of Plaintiff and the Class against Defendant IBM)

           148.    Plaintiff incorporates by reference all allegations of the preceding paragraphs as

   though fully set forth herein.

   Violation of the FTC Act

           149.    In addition to its duties under common law, Defendant had additional duties

   imposed by statute and regulations, including the duties the FTC Act. The harms which occurred

   as a result of Defendant’s failure to observe these duties, including the loss of privacy and

   significant risk of identity theft, are the types of harm that these statutes and their regulations were

   intended to prevent.




                                                     38
Case No. 1:23-cv-02309-CNS-MDB Document 1 filed 09/08/23 USDC Colorado pg 39 of 57
            Case MDL No. 3083 Document 263-9 Filed 09/20/23 Page 42 of 60




          150.    Pursuant to the FTC Act, 15 U.S.C. § 45, Defendant had a duty to provide fair and

   adequate computer systems and data security practices to safeguard Plaintiff and Class Members’

   Personal Information.

          151.    Section 5 of the FTC Act prohibits “unfair . . . practices in or affecting commerce,”

   including, as interpreted and enforced by the FTC, the unfair act or practice by businesses, such as

   Defendant, of failing to use reasonable measures to protect Personal Information. The FTC

   publications and orders also form part of the basis of Defendant’s duty in this regard.

          152.    Defendant violated Section 5 of the FTC Act by failing to use reasonable measures

   to protect consumers Personal Information and not complying with applicable industry standards,

   as described in detail herein. Defendant’s conduct was particularly unreasonable given the nature

   and amount of Personal Information it obtained and stored, and the foreseeable consequences of a

   data breach including, specifically, the damages that would result to Plaintiff and Class Members.

          153.    Defendant’s violation of Section 5 of the FTC Act constitutes negligence per se as

   Defendant’s violation of the FTC Act establishes the duty and breach elements of negligence.

          154.    Plaintiff and Class Members are within the class of persons that the FTC Act was

   intended to protect.

          155.    The harm that occurred as a result of the Data Breach is the type of harm the FTC

   Act was intended to guard against. The FTC has pursued enforcement actions against businesses,

   which, as a result of their failure to employ reasonable data security measures and avoid unfair and

   deceptive practices, caused the same harm as that suffered by Plaintiff and the Class.

   Violation of HIPAA




                                                   39
Case No. 1:23-cv-02309-CNS-MDB Document 1 filed 09/08/23 USDC Colorado pg 40 of 57
            Case MDL No. 3083 Document 263-9 Filed 09/20/23 Page 43 of 60




          156.    Under HIPAA, Defendant had a duty to use reasonable security measures to

   “reasonably protect” confidential data from “any intentional or unintentional use or disclosure”

   and to “have in place appropriate administrative, technical, and physical safeguards to protect the

   privacy of protected health information.” Some or all of the medical information at issue in this

   case constitutes “protected health information” within the meaning of HIPAA.

          157.    Moreover, under HIPAA, Defendant had a duty to render the electronic Private

   Information that they maintained as unusable, unreadable, or indecipherable to unauthorized

   individuals. Specifically, the HIPAA Security Rule requires “the use of an algorithmic process to

   transform data into a form in which there is a low probability of assigning meaning without use of

   a confidential process or key.”

          158.    Plaintiff and Class members are within the class of persons that the HIPAA was

   intended to protect. And the injuries that Defendant inflicted on Plaintiff and Class Members are

   precisely the harms that HIPAA guards against. After all, the Federal Health and Human Services’

   Office for Civil Rights (“OCR”) has pursued enforcement actions against businesses which—

   because of their failure to employ reasonable data security measures for PHI— caused the very

   same injuries that Defendant inflicted upon Plaintiff and Class Members.

          159.    Under § 17932 of the Health Information Technology for Economic and Clinical

   Health Act (“HITECH”), Defendant had a duty to promptly notify “without unreasonable delay

   and in no case later than 60 calendar days after the discovery of a breach” the respective covered

   entities and affected persons so that the entities and persons can take action to protect themselves.

          160.    Moreover, § 17932(a) of HITECH states that, “[a] covered entity that accesses,

   maintains, retains, modifies, records, stores, destroys, or otherwise holds, uses, or discloses



                                                    40
Case No. 1:23-cv-02309-CNS-MDB Document 1 filed 09/08/23 USDC Colorado pg 41 of 57
            Case MDL No. 3083 Document 263-9 Filed 09/20/23 Page 44 of 60




   unsecured protected health information (as defined in subsection (h)(1)) shall, in the case of a

   breach of such information that is discovered by the covered entity, notify each individual whose

   unsecured protected health information has been, or is reasonably believed by the covered entity

   to have been, accessed, acquired, or disclosed as a result of such breach.”

          161.    And § 17932(b) of HITECH states that, “[a] business associate of a covered entity

   that accesses, maintains, retains, modifies, records, stores, destroys, or otherwise holds, uses, or

   discloses unsecured protected health information shall, following the discovery of a breach of such

   information, notify the covered entity of such breach. Such notice shall include the identification

   of each individual whose unsecured protected health information has been or is reasonably

   believed by the business associate to have been, accessed, acquired, or disclosed during such

   breach.”

   Defendant’s Violations Caused Plaintiff and the Class’s Injuries

          162.    But for Defendant’s wrongful and negligent breach of its duties owed to Plaintiff

   and Class Members, Plaintiff and Class Members would not have been injured.

          163.    The injury and harm suffered by Plaintiff and Class Members was the reasonably

   foreseeable result of Defendant’s breach of its duties. Defendant knew or should have known that

   it was failing to meet their duties, and that Defendant’s breach would cause Plaintiff and Class

   Members to experience the foreseeable harms associated with the exposure of their Personal

   Information.

          164.    As a direct and proximate result of Defendant’s negligent conduct, Plaintiff and

   Class Members have suffered injury and are entitled to compensatory, consequential, and punitive

   damages in an amount to be proven at trial.



                                                   41
Case No. 1:23-cv-02309-CNS-MDB Document 1 filed 09/08/23 USDC Colorado pg 42 of 57
            Case MDL No. 3083 Document 263-9 Filed 09/20/23 Page 45 of 60




           165.    Plaintiff has served CO HCPF with notice pursuant to Colo. Rev. Stat. § 24-10-109

   and reserves the right to amend this complaint and assert claims against CO HCPF.

                            COUNT III – INVASION OF PRIVACY
                   (On Behalf of Plaintiff and the Class Against Defendant IBM)

           166.    Plaintiff incorporates by reference all allegations of the preceding paragraphs as

   though fully set forth herein.

           167.     Plaintiff and Class Members had a legitimate expectation of privacy regarding

   their Personal Information and were accordingly entitled to the protection of this information

   against disclosure to unauthorized third parties.

           168.     Defendant owed a duty to Plaintiff and Class Member to keep their Personal

   Information confidential.

           169.     Defendant affirmatively and recklessly disclosed Plaintiff and Class Members’

   Personal Information to unauthorized third parties.

           170.     The unauthorized disclosure and/or acquisition (i.e., theft) by a third party of

   Plaintiff and Class Members’ Personal Information is highly offensive to a reasonable person.

           171.     Defendant’s reckless and negligent failure to protect Plaintiff and Class Members’

   Personal Information constitutes an intentional interference with Plaintiff and the Class Members’

   interest in solitude or seclusion, either as to their person or as to their private affairs or concerns,

   of a kind that would be highly offensive to a reasonable person.

           172.     In failing to protect Plaintiff and Class Members’ Personal Information, Defendant

   acted with a knowing state of mind when it permitted the Data Breach because it knew its

   information security practices were inadequate.




                                                       42
Case No. 1:23-cv-02309-CNS-MDB Document 1 filed 09/08/23 USDC Colorado pg 43 of 57
            Case MDL No. 3083 Document 263-9 Filed 09/20/23 Page 46 of 60




          173.       Because Defendant failed to properly safeguard Plaintiff and Class Members’

   Personal Information, Defendant had notice and knew that its inadequate cybersecurity practices

   would cause injury to Plaintiff and the Class.

          174.       Defendant knowingly did not notify Plaintiff and Class Members in a timely

   fashion about the Data Breach.

          175.       As a proximate result of Defendant’s acts and omissions, Plaintiff and the Class

   Members’ private and sensitive Personal Information was stolen by a third party and is now

   available for disclosure and redisclosure without authorization, causing Plaintiff and the Class to

   suffer damages.

          176.       Defendant’s wrongful conduct will continue to cause great and irreparable injury

   to Plaintiff and the Class since their Personal Information are still maintained by Defendant with

   their inadequate cybersecurity system and policies.

          177.       Plaintiff and Class Members have no adequate remedy at law for the injuries

   relating to Defendant’s continued possession of their sensitive and confidential records. A

   judgment for monetary damages will not end Defendant’s inability to safeguard Plaintiff and the

   Class’s Personal Information.

          178.       Plaintiff, on behalf of herself and Class Members, seeks injunctive relief to enjoin

   Defendant from further intruding into the privacy and confidentiality of Plaintiff and Class

   Members’ Personal Information.

          179.       Plaintiff, on behalf of herself and Class Members, seeks compensatory damages

   for Defendant’s invasion of privacy, which includes the value of the privacy interest invaded by

   Defendant, the costs of future monitoring of their credit history for identity theft and fraud, plus



                                                     43
Case No. 1:23-cv-02309-CNS-MDB Document 1 filed 09/08/23 USDC Colorado pg 44 of 57
            Case MDL No. 3083 Document 263-9 Filed 09/20/23 Page 47 of 60




   prejudgment interest, and costs.

          180.    Plaintiff has served CO HCPF with notice pursuant to Colo. Rev. Stat. § 24-10-109

   and reserves the right to amend this complaint and assert claims against CO HCPF.

                       COUNT IV – BREACH OF IMPLIED CONTRACT
                    (On Behalf of Plaintiff and the Class Against All Defendants)

          181.    Plaintiff incorporates by reference all allegations of the preceding paragraphs as

   though fully set forth herein.

          182.    By requiring Plaintiff and the Class Members Personal Information to provide

   accreditation to nursing programs, Defendants entered into an implied contract in which

   Defendants agreed to comply with its statutory and common law duties to protect Plaintiff and

   Class Members’ Personal Information. In return, Defendants considered and gave accreditation to

   Plaintiff and Class Members’ nursing programs.

          183.    Based on this implicit understanding, Plaintiff and the Class accepted Defendants’

   offers and provided their nursing programs, and by proxy Defendants, with their Personal

   Information.

          184.    Plaintiff and Class members would not have provided their Personal Information to

   Defendant had they known that Defendants would not safeguard their Personal Information, as

   promised.

          185.    Plaintiff and Class members fully performed their obligations under the implied

   contracts with Defendants.

          186.    Defendants breached the implied contracts by failing to safeguard Plaintiff and

   Class Members’ Personal Information.




                                                  44
Case No. 1:23-cv-02309-CNS-MDB Document 1 filed 09/08/23 USDC Colorado pg 45 of 57
            Case MDL No. 3083 Document 263-9 Filed 09/20/23 Page 48 of 60




          187.    Defendants also breached the implied contracts when it engaged in acts and/or

   omissions that are declared unfair trade practices by the FTC and HIPAA. These acts and

   omissions included (i) representing, either expressly or impliedly, that they, or their vendors,

   would maintain adequate data privacy and security practices and procedures to safeguard the

   Personal Information from unauthorized disclosures, releases, data breaches, and theft; (ii)

   omitting, suppressing, and concealing the material fact of the inadequacy of the privacy and

   security protections for the Class’s Personal Information; and (iii) failing to disclose to Plaintiffs

   and the Class at the time they provided their Personal Information that Defendants’, and

   Defendants’ vendors’, data security system and protocols failed to meet applicable legal and

   industry standards.

          188.    The losses and damages Plaintiff and Class members sustained were the direct and

   proximate result of Defendants’ breach of the implied contract with Plaintiff and Class Members.

                           COUNT V – BREACH OF CONFIDENCE
                   (On Behalf of Plaintiff and the Class Against Defendant IBM)

          189.    Plaintiff incorporates by reference all allegations of the preceding paragraphs as

   though fully set forth herein.

          190.    Defendant was fully aware of the confidential nature of the Personal Information

   of Plaintiff and Class Members that it was provided.

          191.    As alleged herein and above, Defendant’s relationship with Plaintiff and the Class

   were governed by promises and expectations that Plaintiff and Class Members’ Personal

   Information would be collected, stored, and protected in confidence, and would not be accessed

   by, acquired by, appropriated by, disclosed to, encumbered by, exfiltrated by, released to, stolen

   by, used by, and/or viewed by unauthorized third parties.


                                                    45
Case No. 1:23-cv-02309-CNS-MDB Document 1 filed 09/08/23 USDC Colorado pg 46 of 57
            Case MDL No. 3083 Document 263-9 Filed 09/20/23 Page 49 of 60




          192.    Plaintiff and Class members provided their respective Personal Information to CO

   HCPF, who provided the Personal Information to IBM, with the explicit and implicit

   understandings that IBM would protect and not permit the Personal Information to be accessed by,

   acquired by, appropriated by, disclosed to, encumbered by, exfiltrated by, released to, stolen by,

   used by, and/or viewed by unauthorized third parties.

          193.    Plaintiff and Class Members provided their Personal Information to CO HCPF, who

   provided the Personal Information to IBM, with the explicit and implicit understandings that IBM

   would take precautions, and ensure that its vendors took those same precautions, to protect their

   Personal Information from unauthorized access, acquisition, appropriation, disclosure,

   encumbrance, exfiltration, release, theft, use, and/or viewing, such as following basic principles of

   protecting their networks and data systems.

          194.    Defendants voluntarily received, in confidence, Plaintiff and Class members’

   Personal Information with the understanding that the Personal Information would not be accessed

   by, acquired by, appropriated by, disclosed to, encumbered by, exfiltrated by, released to, stolen

   by, used by, and/or viewed by the public or any unauthorized third parties.

          195.    Due to Defendant’s failure to prevent, detect, and avoid the Data Breach from

   occurring by, inter alia, not following best information security practices to secure Plaintiff and

   Class Members’ Personal Information, Plaintiff and Class Members’ Personal Information was

   accessed by, acquired by, appropriated by, disclosed to, encumbered by, exfiltrated by, released

   to, stolen by, used by, and/or viewed by unauthorized third parties beyond Plaintiff and Class

   Members’ confidence, and without their express permission.




                                                    46
Case No. 1:23-cv-02309-CNS-MDB Document 1 filed 09/08/23 USDC Colorado pg 47 of 57
            Case MDL No. 3083 Document 263-9 Filed 09/20/23 Page 50 of 60




          196.    As a direct and proximate cause of Defendant’s actions and/or omissions, Plaintiff

   and Class members have suffered damages as alleged herein.

          197.    But for Defendant’s failure to maintain and protect Plaintiff and Class Members’

   Personal Information in violation of the parties’ understanding of confidence, their Personal

   Information would not have been accessed by, acquired by, appropriated by, disclosed to,

   encumbered by, exfiltrated by, released to, stolen by, used by, and/or viewed by unauthorized third

   parties. Defendant’s Data Breach was the direct and legal cause of the misuse of Plaintiff and Class

   members’ Personal Information, as well as the resulting damages.

          198.    The injury and harm Plaintiff and Class Members suffered and will continue to

   suffer was the reasonably foreseeable result of Defendant’s unauthorized misuse of Plaintiff and

   Class members’ Personal Information. Defendants knew it, and its vendor’s, data systems and

   protocols for accepting and securing Plaintiff and Class Members’ Personal Information had

   security and other vulnerabilities that placed Plaintiff and Class members’ Personal Information

   in jeopardy.

          199.    As a direct and proximate result of Defendant’s breaches of confidence, Plaintiff

   and Class members have suffered and will suffer injury, as alleged herein, including but not limited

   to (a) actual identity theft; (b) the compromise, publication, and/or theft of their Personal

   Information; (c) out-of-pocket expenses associated with the prevention, detection, and recovery

   from identity theft and/or unauthorized use of their Personal Information; (d) lost opportunity costs

   associated with effort expended and the loss of productivity addressing and attempting to mitigate

   the actual and future consequences of the Data Breach, including but not limited to efforts spent

   researching how to prevent, detect, contest, and recover from identity theft; (e) the continued risk



                                                    47
Case No. 1:23-cv-02309-CNS-MDB Document 1 filed 09/08/23 USDC Colorado pg 48 of 57
            Case MDL No. 3083 Document 263-9 Filed 09/20/23 Page 51 of 60




   to their Personal Information, which remains in Defendant’s possession and is subject to further

   unauthorized disclosures so long as Defendant fail to undertake appropriate and adequate measures

   to protect Class Members’ Personal Information in their continued possession; (f) future costs in

   terms of time, effort, and money that will be expended as result of the Data Breach for the

   remainder of the lives of Plaintiff and Class Members; and (g) the diminished value of Plaintiff

   and Class Members’ Personal Information.

          200.       Plaintiff has served CO HCPF with notice pursuant to Colo. Rev. Stat. § 24-10-109

   and reserves the right to amend this complaint and assert claims against CO HCPF.

                          COUNT VI – BREACH OF FIDUCIARY DUTY
                     (On Behalf of Plaintiff and the Class Against Defendant IBM)

          201.       Plaintiff incorporates by reference all preceding factual allegations as though fully

   alleged herein.

          202.       A relationship existed between Plaintiff and Class Members and Defendant in

   which Plaintiff and the Class put their trust in Defendant to protect their Personal Information.

   Defendant accepted this duty and obligation when it received Plaintiff and the Class Members’

   Personal Information.

          203.       Plaintiff and the Class Members entrusted their Personal Information to Defendant

   on the premise and with the understanding that Defendant would safeguard their information, use

   their Personal Information for business purposes only, and refrain from disclosing their Personal

   Information to unauthorized third parties.

          204.       Defendant knew or should have known that the failure to exercise due care in the

   collecting, storing, and using of individual’s Personal Information involved an unreasonable risk




                                                      48
Case No. 1:23-cv-02309-CNS-MDB Document 1 filed 09/08/23 USDC Colorado pg 49 of 57
            Case MDL No. 3083 Document 263-9 Filed 09/20/23 Page 52 of 60




   of harm to Plaintiff and the Class, including harm that foreseeably could occur through the criminal

   acts of a third party.

           205.     Defendant’s fiduciary duty required it to exercise reasonable care in safeguarding,

   securing, and protecting such information from being compromised, lost, stolen, misused, and/or

   disclosed to unauthorized parties. This duty includes, among other things, designing, maintaining,

   and testing Defendant’s security protocols to ensure that Plaintiff and the Class’s information in

   Defendant’s possession was adequately secured and protected.

           206.     Defendant also had a fiduciary duty to have procedures in place, and ensure that its

   vendors had also had procedures in place, to detect and prevent improper access and misuse of

   Plaintiff’s and the Class’s Personal Information. Defendant’s duty to use reasonable security

   measures arose as a result of the special relationship that existed between Defendant and Plaintiff

   and the Class. That special relationship arose because Defendant was entrusted with Plaintiff and

   the Class’s Personal Information.

           207.     Defendant breached their fiduciary duty that they owed Plaintiff and the Class by

   failing to case in good faith, fairness, and honesty; by failing to act with the highest and finest

   loyalty; and by failing to protect the Personal Information of Plaintiff and the Class Members.

           208.     Defendant’s breach of fiduciary duties were a legal cause of damages to Plaintiff

   and the Class.

           209.     But for Defendant’s breach of fiduciary duty, the damage to Plaintiff and the Class

   would not have occurred, and the Data Breach contributed substantially to producing the damage

   to Plaintiff and the Class.




                                                     49
Case No. 1:23-cv-02309-CNS-MDB Document 1 filed 09/08/23 USDC Colorado pg 50 of 57
            Case MDL No. 3083 Document 263-9 Filed 09/20/23 Page 53 of 60




           210.    As a direct and proximate result of Defendant’s breach of fiduciary duty, Plaintiff

   and the Class are entitled to actual, consequential, and nominal damages and injunctive relief, with

   amounts to be determined at trial.

           211.    Plaintiff has served CO HCPF with notice pursuant to Colo. Rev. Stat. § 24-10-109

   and reserves the right to amend this complaint and assert claims against CO HCPF.

                             COUNT VII – UNJUST ENRICHMENT
                    (On Behalf of Plaintiff and the Class Against All Defendants)

           212.    Plaintiff realleges and incorporates by reference in this count all paragraphs above

   as if fully set forth herein and further alleges:

           213.    This count is pleaded in the alternative to Breach of Implied Contract.

           214.    Plaintiff and Class Members conferred a monetary benefit on Defendants by

   providing Defendants with their valuable Personal Information.

           215.    Defendants enriched themselves by saving the costs it reasonably should have

   expended on data security measures to secure Plaintiff’s and Class Members’ Personal

   Information.

           216.    Instead of providing a reasonable level of security, and ensuring that its vendors

   did to as well, that would have prevented the Data Breach, Defendants instead calculated to avoid

   their data security obligations at the expense of Plaintiff and Class Members by utilizing cheaper,

   ineffective security measures. Plaintiff and Class Members, on the other hand, suffered as a direct

   and proximate result of Defendants’ failure to provide the requisite security.

           217.    Under the principles of equity and good conscience, Defendants should not be

   permitted to retain the money belonging to Plaintiff and Class Members, because Defendants failed




                                                       50
Case No. 1:23-cv-02309-CNS-MDB Document 1 filed 09/08/23 USDC Colorado pg 51 of 57
            Case MDL No. 3083 Document 263-9 Filed 09/20/23 Page 54 of 60




   to implement appropriate data management and security measures that are mandated by industry

   standards.

          218.    Defendants acquired the monetary benefit and Personal Information through

   inequitable means in that it failed to disclose the inadequate security practices previously alleged.

          219.    If Plaintiff and Class Members knew that Defendants had not secured their Personal

   Information, they would not have agreed to provide their Personal Information to Defendants.

          220.    Plaintiff and Class Members have no adequate remedy at law.

          221.    As a direct and proximate result of Defendants’ conduct, Plaintiff and Class

   Members have suffered and will suffer injury, including but not limited to: (i) actual identity theft;

   (ii) the loss of the opportunity how their Personal Information is used; (iii) the compromise,

   publication, and/or theft of their Personal Information; (iv) out-of-pocket expenses associated with

   the prevention, detection, and recovery from identity theft, and/or unauthorized use of their

   Personal Information; (v) lost opportunity costs associated with effort expended and the loss of

   productivity addressing and attempting to mitigate the actual and future consequences of the Data

   Breach, including but not limited to efforts spent researching how to prevent, detect, contest, and

   recover from identity theft; (vi) the continued risk to their Personal Information, which remain in

   Defendants’ possession and is subject to further unauthorized disclosures so long as Defendants

   fail to undertake appropriate and adequate measures to protect Personal Information in their

   continued possession; and (vii) future costs in terms of time, effort, and money that will be

   expended to prevent, detect, contest, and repair the impact of the Personal Information

   compromised as a result of the Data Breach for the remainder of the lives of Plaintiff and Class

   Members.



                                                    51
Case No. 1:23-cv-02309-CNS-MDB Document 1 filed 09/08/23 USDC Colorado pg 52 of 57
            Case MDL No. 3083 Document 263-9 Filed 09/20/23 Page 55 of 60




          222.    As a direct and proximate result of Defendants’ conduct, Plaintiff and Class

   Members have suffered and will continue to suffer other forms of injury and/or harm.

          223.    Defendants should be compelled to disgorge into a common fund or constructive

   trust, for the benefit of Plaintiff and Class Members, proceeds that they unjustly received from

   them. In the alternative, Defendants should be compelled to refund the amounts that Plaintiff and

   Class Members overpaid for Defendants’ services.

          224.    Wherefore, Plaintiff and Class Members pray for relief as set forth below.

                          COUNT VIII – DECLARTORY JUDGMENT
                    (On Behalf of Plaintiff and the Class Against All Defendants)

          225.    Plaintiff incorporates by reference all allegations of the preceding paragraphs as

   though fully set forth herein.

          226.      Under the Declaratory Judgment Act, CRCP 57, this Court is authorized to enter a

   judgment declaring the rights and legal relations of the parties and grant further necessary relief.

   Further, the Court has broad authority to restrain acts, such as here, that are tortious and violate the

   terms of the federal and state statutes described in this Complaint.

          227.      An actual controversy has arisen in the wake of the Data Breach regarding

   Plaintiff’s and the Class’s Personal Information and whether Defendants are currently maintaining

   data security measures adequate to protect Plaintiff and the Class from further data breaches that

   compromise their Personal Information. Plaintiff alleges that Defendants’ data security measures

   remain inadequate. Furthermore, Plaintiff continues to suffer injury as a result of the compromise

   of her Personal Information and remains at imminent risk that further compromises of their Personal

   Information will occur in the future. It is unknown what specific measures and changes Defendants

   have undertaken in response to the Data Breach.


                                                     52
Case No. 1:23-cv-02309-CNS-MDB Document 1 filed 09/08/23 USDC Colorado pg 53 of 57
            Case MDL No. 3083 Document 263-9 Filed 09/20/23 Page 56 of 60




          228.     Plaintiff and the Class have an ongoing, actionable dispute arising out of

   Defendants’ inadequate security measures, including (i) Defendants’ failure to encrypt Plaintiff’s

   and the Class’s Personal Information, including Social Security numbers and medical information,

   while storing it in an Internet-accessible environment, and (ii) Defendants’ failure to delete Personal

   Information it has no reasonable need to maintain in an Internet-accessible environment, including

   the Social Security numbers of Plaintiff and the Class.

          229.     Pursuant to its authority under the CRCP 57, this Court should enter a judgment

   declaring, among other things, the following:

                  a.      Defendants owe a legal duty to secure the Personal Information of Plaintiff

                  and the Class;

                  b.      Defendants owe a legal duty to ensure that its vendors secure the Personal

                  Information of Plaintiff and the Class;

                  c.      Defendants continue to breach this legal duty by failing to employ

                  reasonable measures to secure consumers’ Personal Information; and

                  d.      Defendants’ ongoing breaches of its legal duty continue to cause Plaintiff

                  and the Class harm.

          230.     This Court also should issue corresponding prospective injunctive relief requiring

   Defendants to employ adequate security protocols consistent with law and industry and government

   regulatory standards to protect consumers’ Personal Information. Specifically, this injunction

   should, among other things, direct Defendants to:

                  a.      engage third party auditors, consistent with industry standards, to test its

                  systems for weakness and upgrade any such weakness found;



                                                     53
Case No. 1:23-cv-02309-CNS-MDB Document 1 filed 09/08/23 USDC Colorado pg 54 of 57
            Case MDL No. 3083 Document 263-9 Filed 09/20/23 Page 57 of 60




                  b.      audit, test, and train its data security personnel regarding any new or

                  modified procedures and how to respond to a data breach;

                  c.      regularly test its systems for security vulnerabilities, consistent with industry

                  standards;

                  d.      implement an education and training program for appropriate employees

                  regarding cybersecurity.

          231.      If an injunction is not issued, Plaintiff and Class Members will suffer irreparable

   injury, and lack an adequate legal remedy, in the event of another data breach at Defendants. The

   risk of another such breach is real, immediate, and substantial. If another breach at Defendants

   occurs, Plaintiff will not have an adequate remedy at law because many of the resulting injuries are

   not readily quantified and they will be forced to bring multiple lawsuits to rectify the same conduct.

          232.      The hardship to Plaintiff and Class Members if an injunction is not issued exceeds

   the hardship to Defendants if an injunction is issued. Plaintiff will likely be subjected to substantial

   identity theft and other damage. On the other hand, the cost to Defendants of complying with an

   injunction by employing reasonable prospective data security measures is relatively minimal, and

   Defendant has a pre-existing legal obligation to employ such measures.

          233.      Issuance of the requested injunction will not disserve the public interest. To the

   contrary, such an injunction would benefit the public by preventing another data breach at

   Defendants, thus eliminating the additional injuries that would result to Plaintiff and others whose

   confidential information would be further compromised.

                                      VII.    PRAYER FOR RELIEF

          WHEREFORE, Plaintiff and the Class pray for judgment against Defendants as follows:



                                                     54
Case No. 1:23-cv-02309-CNS-MDB Document 1 filed 09/08/23 USDC Colorado pg 55 of 57
            Case MDL No. 3083 Document 263-9 Filed 09/20/23 Page 58 of 60




               a.   An order certifying this action as a class action under CRCP 23, defining

                    the Class as requested herein, appointing the undersigned as Class counsel,

                    and finding that Plaintiff are a proper representative of the Class requested

                    herein;

               b.   A judgment in favor of Plaintiff and the Class awarding them appropriate

                    monetary relief, including actual and statutory damages, punitive damages,

                    attorney fees, expenses, costs, and such other and further relief as is just and

                    proper;

               c.   An order providing injunctive and other equitable relief as necessary to

                    protect the interests of the Class and the general public as requested herein,

                    including, but not limited to:

                    i.        Ordering    that    Defendants        engage   third-party   security

                              auditors/penetration testers as well as internal security personnel to

                              conduct testing, including simulated attacks, penetration tests, and

                              audits on Defendants’ systems on a periodic basis, and ordering

                              Defendants to promptly correct any problems or issues detected by

                              such third-party security auditors;

                    ii.       Ordering that Defendants engage third-party security auditors and

                              internal personnel to run automated security monitoring;

                    iii.      Ordering that Defendants audit, test, and train its security personnel

                              regarding any new or modified procedures;




                                                 55
Case No. 1:23-cv-02309-CNS-MDB Document 1 filed 09/08/23 USDC Colorado pg 56 of 57
            Case MDL No. 3083 Document 263-9 Filed 09/20/23 Page 59 of 60




                         iv.       Ordering that Defendants segment customer data by, among other

                                   things, creating firewalls and access controls so that if one area of

                                   Defendants’ systems is compromised, hackers cannot gain access to

                                   other portions of Defendants’ systems;

                         v.        Ordering that Defendants purge, delete, and destroy in a reasonably

                                   secure manner customer data not necessary for their provisions of

                                   services;

                         vi.       Ordering that Defendants conduct regular database scanning and

                                   securing checks; and

                         vii.      Ordering that Defendants routinely and continually conduct internal

                                   training and education to inform internal security personnel how to

                                   identify and contain a breach when it occurs and what to do in

                                   response to a breach.

                 d.      An order requiring Defendants to pay the costs involved in notifying the

                         Class members about the judgment and administering the claims process;

                 e.      A judgment in favor of Plaintiff and the Class awarding them pre-judgment

                         and post-judgment interest, reasonable attorneys’ fees, costs and expenses

                         as allowable by law; and

                 f.      An award of such other and further relief as this Court may deem just and

                         proper.

                                   VIII. DEMAND FOR JURY TRIAL

         Plaintiff demands a trial by jury on all issues so triable.



                                                    56
Case No. 1:23-cv-02309-CNS-MDB Document 1 filed 09/08/23 USDC Colorado pg 57 of 57
            Case MDL No. 3083 Document 263-9 Filed 09/20/23 Page 60 of 60




   Dated: September 8, 2023                  Respectfully submitted,

                                             /s/ William B. Federman__________
                                             William B. Federman
                                             FEDERMAN & SHERWOOD
                                             10205 N. Pennsylvania Ave.
                                             Oklahoma City, OK 73120
                                             Telephone: (405) 235-1560
                                             wbf@federmanlaw.com

                                             Counsel for Plaintiff and Proposed Lead
                                             Counsel for the Class




                                        57
